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    EXHIBIT 1
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  EXPERT OPINION REGARDING THE ACTIONS OF THE SEATTLE
 POLICE DEPARTMENT REGARDING THE EAST PRECINCT AND THE
          OCCUPATION OF CAPITOL HILL IN JUNE 2020



SUBMITTED TO:            Mr. Tyler S. Weaver
                         Calfo Eakes LLP
                         1301 Second Avenue, Suite 2800
                         Seattle, WA 98101

                         June 2, 2022


PERTAINING TO:           HUNTERS CAPITAL, LLC, et. al.,

                         Plaintiffs

                          v.

                         CITY OF SEATTLE,

                         Defendant.

                         Case No.: 2:200-cv-00983-TSZ

                         United States District Court
                         For The Western District of Washington



PREPARED BY:             Dr. Jon M. Shane
                         jmsnpd@gmail.com
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STATEMENT OF QUALIFICATIONS AND BASIS OF OPINION
Employment Record
        My name is Jon M. Shane. I am a professor of criminal justice at John Jay College of
Criminal Justice, which is located at 524 W. 59th Street, New York, NY, 10019. I have been a
member of the faculty in the Department of Law, Police Science and Criminal Justice
Administration since January 2009. I teach graduate and undergraduate courses related to criminal
justice with a concentration in policing. I also conduct research on policing. My expertise is police
policy and practice and the theoretical underpinnings of the police, which are reflected in my
teaching and research. My other teaching and research interests are situational crime prevention,
social disorganization theory, routine activities theory, violent crime and criminal justice statistics,
particularly how statistics are used in criminal justice. In my capacity as a professor, I regularly
consult with attorneys and law enforcement agencies around the country and internationally on
police policy and practice issues and training programs.
        Prior to my faculty appointment I had a career in law enforcement in both civilian and
sworn capacities from December 1985 to December 2005, retiring at the rank of captain from the
Newark (NJ) police department. I began my law enforcement career on December 2, 1985 as a
police dispatcher for the Clifton, New Jersey police department. On March 20, 1989, I became a
police officer for the Newark, New Jersey police department. I held several positions throughout
my career in both operational and administrative assignments. I was promoted to sergeant in June
1995; lieutenant in July 1998; captain in September 2000. On January 21, 2005, I was notified by the
New Jersey Department of Personnel that I was eligible and qualified to be promoted to deputy
chief according to state standards (certification # PL050068, January 14, 2005). The majority of my
career was spent in both operational and administrative assignments drafting, reviewing or
implementing policy for the Newark Police Department. In these roles I created, revised or
reviewed policies and implementation orders governing the administration and operations of the
Newark Police Department. I also provided direct advice and consultation with the Police Director,
Chief of Police and other command staff members regarding agency policy that was based on
research, trends and best practices in U.S. law enforcement. Throughout my career I supervised or
managed police officers and other supervisors as they conducted criminal investigations, including
homicide cases.
        I began my research and teaching career in 2005 as a lecturer and an adjunct professor of
criminal justice at Rutgers University and Fairleigh Dickinson University. Table 1 is a summary of


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my employment from 1985 to present; table 2 is a summary of my training, education and
professional development, and table 3 is a summary of my related employment and experience. My
curriculum vitae is attached as Appendix A.
 Table 1
 Summary of Employment Record
 Date              Agency                                  Assignment                              Position
 January 2009      John Jay College of Criminal Justice,   Department of Law and Police            Associate Professor
 Present           New York City                           Science

 2005/2008          Rutgers University, Newark, NJ         Newark College of Arts and Sciences     Lecturer

 Spring 2005        Fairleigh Dickinson University,        School of Administrative Science,       Adjunct Professor
                    Teaneck, NJ                            Petrocelli College

 August 2004        Newark (NJ) Police Department          Office of the Chief of Police,          Command Staff
 December 2005                                             Command Operations Center

 April 2004                                                Operations Bureau, North District       Commanding Officer
 August 2004                                               Station

 August 2002                                               Office of the Police Director, Office   Commanding Officer
 April 2004                                                of Policy and Planning


 June 2002                                                 Operations Bureau, East District        Commanding Officer
 August 2002                                               Station

 January                                                   Office of the Police Director, Office   Commanding Officer
 June 2002                                                 of Policy and Planning

 April 2000                                                Office of the Police Director, Office   Commanding Officer,
 January 2002                                              of Policy, Planning and Technology      Management Information
                                                                                                   Systems

 July 1999                                                 Operations Bureau, North District       Tour Commander
 April 2000                                                Station

 July 1998                                                 Office of the Police Director, Office   Executive Officer
 July 1999                                                 of Policy and Planning

 September 1997                                            Office of the Police Director           Special Assistant to the
 July 1998                                                                                         Police Director

 May 1997                                                  Criminal Investigation Bureau,          Homicide Section
 September 1997                                            Violent Crime Division                  Supervisor

 June 1995                                                 Field Operations Bureau, East &         Field Supervisor
 September 1995                                            West District Police Stations

 August 1994                                               Field Operations Bureau, Emergency      Operator and Team
 September 1997                                            Response Team                           Supervisor

 March 1993                                                Office of the Police Director,          Detective
 May 1997                                                  Research, Analysis and Planning



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 Table 1
 Summary of Employment Record
 Date              Agency                             Assignment                              Position
                                                      Division

 November 1992                                        Special Investigation Bureau, Special   Police Officer
 March 1993                                           Projects Section, TARGET Team

 August 1989                                          Field Operations Bureau, South          Police Officer
 November 1992                                        District Station

 March 1989                                           Office of the Chief of Police, Police   Police Recruit
 August 1989                                          Academy

 December 1985      Clifton (NJ) Police Department    Communications Division                 Police Dispatcher
 March 1989


Education and Professional Development
        I hold a baccalaureate degree (October 2002), Master of Arts degree (January 2005) and
doctoral degree (October 2008) in criminal justice from Rutgers University. I also hold a
certification in non-profit management (August 2004) from Rutgers Graduate School of Public
Administration. During my law enforcement career, I attended three senior management programs
for police leadership: 1) 193rd Session of the FBI National Academy (April 5 – June 19, 1998); 2) 25th
Session of the Senior Management Institute for Police (June 21, 2001); and 3) Police Foundation
Visiting Police Fellowship program, Washington, D.C. (January – June 1997).
        The FBI National Academy is a professional course of study for U.S. and international law
enforcement leaders that serves to improve the administration of justice in police departments in the
United States and abroad and to raise law enforcement standards, knowledge, and cooperation
worldwide. The Senior Management Institute for Police (SMIP) is a program of the Police
Executive Research Forum that provides senior police executives intensive training in the latest
management concepts and practices used in business and government. SMIP promotes general
management theory, policy development, planning processes, organizational structure and behavior.
The Visiting Police Fellowship program at the Police Foundation affords police leaders the
opportunity to work with nationally recognized experts in policing, police policy, and research. The
program allows the fellow to benefit from the specialized skills of individual relationships and
exposure to state-of-the-art ideas that promote professional growth through research, training and
technology.
        During my tenure in the Newark Police Department, I was a state certified police academy
instructor (April 15, 1993 – December 31, 2004) and a member of the Newark Police Emergency


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Response Team (December 1994 – September 1997). In my capacity as a police academy instructor,
I taught various courses to recruit-level and in-service personnel including agency rules and policy,
search and seizure, use of force, chemical agents and tactics. In my capacity as an ERT member and
supervisor I was trained as a chemical agents instructor by the FBI and taught recruit-level and in-
service personnel on the types, effects and consequences of chemical agents.
        My training sessions often combined classroom and practical exercises to add dimension and
depth to the classroom material. Practical exercises allow trainees to directly apply the knowledge,
skills and abilities they acquired in the classroom to live sessions in a supervised manner. This gives
the trainee immediate feedback and critique about the consequences and effects of their actions
through a range of simulations that are designed to add as much realism and literal truth as possible
to the exercise. Table 2 is a summary of my professional development.
 Table 2
 Summary of Education and Professional Development
 Date                    School                                                         Degree or Certificate
 October 1, 2008         Rutgers School of Criminal Justice, Newark, NJ                 Doctorate, criminal justice

 January 17, 2005       Rutgers School of Criminal Justice, Newark, NJ                  Master of Arts, criminal justice

 August 31, 2004        Rutgers Graduate School of Public Administration, Newark, NJ    Certificate, non-profit management

 October 1, 2002        Rutgers University, University College, Newark, NJ              Bachelor of Science, criminal justice

 June 21, 2001          Police Executive Research Forum, Harvard University John F.     Certificate of completion
                        Kennedy School of Government, Senior Management Institute
                        for Police—Session 25, Boston, MA

 November 3, 1998       Value-Centered Leadership: Ethics, Values and Integrity,        Certificate of completion
                        International Association of Chiefs of Police, Newark, N.J.

 April 5, 1998          Federal Bureau of Investigation, FBI National Academy, 193 rd   Certificate of completion
 June 19, 1998          session, Quantico, Va.

 July 1997              Practical Homicide Investigation, Vernon J. Geberth, Newark,    Certificate of completion
                        NJ

 January 1997           Police Foundation, Visiting Police Fellowship Program,          Certificate of completion
 June 1997              Washington, D.C.

 April 1995             Chemical Agents in Law Enforcement Instructor, Federal          Certificate of completion
                        Bureau of Investigation, Ft. Dix, NJ

 June 25, 1993          Advanced Criminal Investigations, Essex County Police           Certificate of completion
                        Academy and Federal Bureau of Investigation, Cedar Grove, NJ

 April 21, 1993         Methods of Instruction, Newark Police Academy, New Jersey       Certificate of completion
                        Division of Criminal Justice, Newark, NJ

 April 15, 1993         State Certified Police Academy Instructor, Newark Police        Certificate of completion



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 Table 2
 Summary of Education and Professional Development
 Date                    School                                                                      Degree or Certificate
 December 31, 2004       Academy, Newark, NJ

 November 18, 1992       New York-New Jersey Anti-Car Theft Committee, National                      Certificate of completion
                         Insurance Crime Bureau, Tarrytown, NY


Related Employment and Experience
         In addition to my law enforcement career and my research and teaching career, I have
related experience in police administration, criminal justice and research. Table 3 summarizes my
employment and related experience.
 Table 3
 Related Employment and Experience
 March 2006               Consultant to Essex County College, Newark, NJ to assist with design and implementation of a
 July 2006                geographic information system (GIS) training program for law enforcement and homeland security
                          initiatives

 February 2005              Staff Member, NJ Attorney General’s Office - Camden Commission for Public Safety.
 September 2005             Final report accessible at http://www.state.nj.us/lps/com-report-camden.pdf

                            Research Associate, Rutgers Police Institute. Conducted public safety research and a police management
                            study in Camden, NJ as a staff member of the Camden Commission for Public Safety. Research included
                            a management study on efficiency and recommendations on best practices for organizational change,
                            deployment and sustained crime control initiatives.

 May 2004                   Senior Research Associate, Police Foundation Washington, D.C. Currently, serving as a senior research
 Present                    associate to the Police Foundation on a variety of topics related to policing.

 October 2003               Research Team Member, Rutgers Center for Mental Health. Conducted research on police interactions and
 May 2004                   responses to persons with mental health issues. Study included conducting on site interviews with
                            police officers as well as calls for service data analysis.

 September 2003             Differential Police Response: Neighborhood Social Disorganization and Police Response Time to Domestic Violence
 September 2004             Calls. Principal investigator and author of explanatory research on police response time to domestic
                            violence calls in Newark, New Jersey. The objective was to explain the relationship between
                            indicators of social disorganization and police response time to domestic violence calls for service.



         On the basis of my research, teaching, education, training and experience, I am therefore
familiar with the policies, practices and customs associated with policing, including the risks,
vulnerabilities and uncertainties, as well as how police officers are trained, the importance of policy
and how policy is developed and implemented at the line level.
Publications
         My publications are listed on my CV (attached).




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Basis of Opinion
        In preparing this report and expressing my opinion, I relied on the knowledge I have
acquired through research, teaching, education and professional development that other experts in
my field would consider reliable. I also relied on my experience in criminal justice, police operations
and police administration on the accepted standards of care recognized by police organizations and
officials throughout the United States as the custom and practice for the administration,
management and supervision of police agencies and police personnel. In this regard, I am an active
member of the American Society of Criminology (ASC), the Police Executive Research Forum
(PERF) and the Academy of Criminal Justice Sciences (ACJS). These organizations are dedicated to
improving and promoting criminal justice policies, practices, education and professional standing for
criminal justice educators and practitioners through a national and international research agenda that
is multidisciplinary and focused on crime, delinquency, public policy analysis and debate.
        My professional opinion and police expertise are sought after through various invited
lectures, training workshops, research grants and presentations at local, national and international
venues on crime, police management, police performance and police policy and practice issues:
1.  Harris County Constable, Precinct 1, Houston, Texas (with Justice System Partners, South
    Easton, MA), May 2021.
2. Police policy advisor, Guatemala Public Ministry, June 2016.
3. Panelist, National Association for Civilian Oversight of Law Enforcement (NACOLE) and
    John Jay College of Criminal Justice, academic conference series - Building Public Trust:
    Generating Evidence to Enhance Police Accountability and Legitimacy, April 22, 2016.
4. United States Commission on Civil Rights, Office of Civil Rights Evaluation, panel on Police
    Practices and Prosecution of Police Deadly Force, invited panelist. Panel presentation, April 20,
    2015.
5. Panel moderator, Bridging the Great divide: Can Police-Community Partnerships Reduce
    Crime and Strengthen Our Democracy? Building Police Legitimacy with Community Stakeholders,
    September 5, 2014.
6. Invited training workshop, Uruguayan National Police, Basic Course in Criminal Investigations
    Training Workshop, Montevideo, Uruguay, June 9 to June 20, 2014.
7. Police Foundation, National Institute of Justice and US Department of Justice, COPS Office,
    Sentinel Events Initiative on Wrongful Convictions, Washington, D.C., February 7, 2014.
8. Inter-American Development Bank policing presentation on policing and the expectations for
    developing countries, Washington, D.C. , December 3, 2013.
9. Scholarship Program for Training in Advanced Criminal Investigations for Uruguay Police,
    (practice grant, Ministry of the Interior, Uruguay), October 18, 2013.
10. Invited training workshop, Uruguayan National Police, Advanced Course in Criminal
    Investigations Training Workshop, Montevideo, Uruguay, October 8-18, 2013.
11. Invited training workshop, Uruguayan National Police, Basic Course in Criminal Investigations
    Training Workshop, Montevideo, Uruguay, August 20 to September 5, 2013.



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12. Invited training workshop, U.S. Army 89th Military Police Brigade, performance management
    training workshop, Ft. Hood, TX, July 29-30, 2013.
13. U.S. Department of Justice, National Institute of Justice roundtable on “sentinel events
    initiative” to uncover criminal justice system weaknesses that lead to organizational accidents,
    Washington, D.C., May 21-22, 2013.
14. Maritime Piracy: A Situational Analysis (research grant, PSC CUNY Award # 66767-00 44),
    May 15, 2013.
15. U.S. Army Military Police, Senior Leader Conference and Military Police 2020 Strategic
    Planning Session, National Conference Center, Lansdowne, VA, May 6-9, 2012.
16. Amendola, K., Hulcher, D. & Koval, K. with Heitman, A., & Shane, J. M. (2012).Personnel
    reallocation and scheduling: Final report staff scheduling options, Atlantic City, NJ Police
    Department. Washington, D.C: Police Foundation.
17. Amendola, K.A., Weisburd, D. Hamilton, E., Jones, G., Slipka, M., Shane, J.M & Ortiz, C1.
    (2012). The impact of law enforcement shift practices and extra-duty employment on various
    health, safety, performance, and quality of life measures. Washington, D.C: Police Foundation.
18. Invited panel participant, providing commentary on Roger Graef’s When Cops Kill, to explore
    police shootings and what really happens to the brain and body of police officers when they
    pull the trigger. Moderated by President Jeremy Travis, John Jay College, April 22, 2013.
19. Panel moderator, 23rd Annual Problem-oriented Policing Conference, Houston Police Department:
    Back from the Brink: Reducing Crime and Disorder in the Antoine Corridor, Presenters: Michael Hill,
    Ryan Watson and Chris Schuster., October 22-23, 2012.
20. University of New Haven, Center for Advanced Policing, Innovations in Police Management
    Course, New Haven, CT., August 6-10, 2012.
21. Research and teaching agenda Bramshill Police College (U.K.) January 2012 – April 2012.
22. Presentation to the Chinese People’s Public Security University, Police Security Bureau, on
    creating a nexus between police workload and budget, police policy and practice issues, Beijing,
    China, November 27- December 3, 2011.
23. Deterrence or System Overload? The Effect of Imprisonment and Clearance Rates on Auto
    Theft in the United States, Annual Meeting American Society of Criminology, Washington,
    D.C., November 17, 2011.
24. Open Society’s Roundtable on Current Debates, Research Agendas and Strategies to address
    racial disparities in police-initiated stops in the U.K. and U.S.A., Panel Moderator, John Jay
    College of Criminal Justice, New York, August 10-11, 2011.
25. U.S. Department of State and FBI, Panel Moderator, Community Policing and Conflict
    Resolution, Federal Plaza, New York City, May 4, 2011.
26. Lexis/Nexis Government 2011 Insight Conference, Panel Member, moderated by Chuck Wexler,
    Executive Director Police Executive Research Forum (PERF), April 5, 2011.
27. New Haven (CT) Police Department, Investigative Training Course, West Haven, CT,
    November 9, 2010.
28. U.S. Department of Justice COPS Office National Leadership Roundtable, Leadership For Public
    Safety II, with the Community Policing Leadership Institute (CPLI) at the John Jay College of
    Criminal Justice Office of Continuing and Professional Studies, April 29-30, 2010;
29. The Impact of Organizational Stress on Police Performance (research grant, PSC CUNY
    Award # 63310-00-41), April 15, 2010.

1 This research report received the 2012 Outstanding Experimental Field Trial Award from the Division of

Experimental Criminology/American Society of Criminology (ASC). The award was presented to Dr. Karen
Amendola et al. at the 68th annual meeting of the ASC in Chicago on November 14, 2012.


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30. Benjamin Cardoza Law School lecture on police accountability, Professor Ellen Yaroshefsky,
    March 10, 2010.
31. Jamaica Constabulary Police Force, Leading Police Performance and Accountability
    Symposium 2010, training workshop, Kingston, Jamaica, March 30–April 2, 2010.
32. The Myth of The American Police Quasi Military Model, Annual Meeting Academy of Criminal
    Justice Sciences, San Diego, CA, February 26, 2010.
33. Rethinking Police Use of Confidential Informants, Annual Meeting Academy of Criminal
    Justice Sciences, San Diego, CA, February 23, 2010.
34. Performance Management in Police Agencies: A Conceptual Framework, Annual Meeting
    American Society of Criminology, Philadelphia, PA, November 5, 2009.
35. Crime Track: A Statewide Crime Data Collection System, with Christopher Andreychak,
    Rutgers University—School of Criminal Justice, Annual Meeting American Society of
    Criminology, Philadelphia, PA, November 5, 2009.
36. Implementing and Institutionalizing Compstat in Maryland Police Agencies, with the University
    of Maryland, Institute for Governmental Service and Research, September 24-25, 2009;
    October 22-23, 2009; November 20, 2009.
37. Ohio Association of Chiefs of Police, 2008 in-service training conference, Deer Creek, Ohio,
    April 22, 2008.
38. Florida Police Chiefs Association 56th Annual Summer Training Conference, Palm Beach
    Gardens, FL, June 23, 2008.
39. Virginia Association of Chiefs of Police, Annual Conference, Hot Springs, VA, August 19,
    2008.
40. The Houston Area Police Chief’s Association, Woodlands Public Safety Training Center,
    Conroe, Texas, October 28, 2008.
41. Ottawa Association of Law Enforcement Planners, Algonquin College, Ottawa, Ontario,
    Canada, May 5, 2007.
42. Louisiana Attorney General’s Command College, Baton Rouge, Louisiana, August 8, 2007;
43. IMPACT Users Technology and Performance Conference, Saratoga Springs, NY, September
    17, 2007.
44. International Association of Law Enforcement Planners, Calgary, Alberta, Canada, October 16-
    17, 2007.

I am also a senior research associate at the National Policing Institute (formerly Police Foundation)
Washington, D.C. and I have been empaneled by the Center for Problem-Oriented Policing to
conduct research on behalf of the U.S. Department of Justice, COPS Office, where I am active in
police research that has national and international implications.
        My research, participation in national forums and broad reading in policing and criminology
have given me the theoretical and empirical grounding for examining the impact of police operations
on the community. On January 24, 2011, I was named the “highly commended award winner” by
the 2010 Emerald/European Foundation for Management Development, Outstanding Doctoral
Dissertation Research Award. This international competitive award is conferred upon those whose
dissertation research makes a significant contribution to the field. I received the award under the



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Leadership and Organizational Development category. To broaden my perspective on crime, criminology
and policing issues, I serve as an occasional peer-review member for several national and
international criminal justice and policing journals, including: Crime Science (2015), Criminology
(2014); Criminology & Public Policy (2012); Sociological Quarterly (2012); Police Quarterly (2011);
Criminal Justice Review (2011); International Journal of Police Science and Management (2011;
Criminal Justice & Behavior (2010); Journal of Criminal Justice (2010); Taylor-Francis Publishing
(2010); Thompson-Wadsworth Publishing ; Police Practice & Research: An International Journal
(2010); Policing: An International Journal of Police Strategies & Management (2009, 2012);
Environmental Criminology and Crime Analysis abstract review (2011, 2012 conferences); and
International Journal of Comparative and Applied Criminal Justice (2010). On August 20, 2011, I
accepted appointment as an Editorial Advisory Board Member to the International Journal of
Emergency Services published by Emerald.
       My teaching and course design experience has provided me first-hand knowledge of the
ways police operations and policies impact the community in a pluralistic society governed by the
rule of law. My teachings at the undergraduate level are: 1) Police and the Community; 2)
Introduction to Criminal Justice; 3) Introduction to Law Enforcement; and 4) Criminology. My
teachings at the graduate level are: 1) Contemporary Issues in Community Policing; 2) Police Ethics;
3) Problem-Oriented Policing; 4) Issues in Criminal Justice—Police and Corrections; 5) Using
Computers in Social Science—Statistics; and 6) research methods and design. On January 14, 2011,
I was appointed a member of the doctoral faculty in the criminal justice program, where I am
responsible for teaching and mentoring students and serving the general needs of the doctoral
program. Since my appointment at John Jay College, I have won various awards and been included
on the Dean’s List (2008-2009; 2009-2010; 2013-2014), a status conferred by the CUNY Office of
Graduate Studies in recognition for faculty members who mentor or substantially influence a
graduate student’s academic success. On August 25, 2011, I was named “Mentor of the Year” by
the American Society of Criminology, the leading organization for practitioners and academicians
from the many fields of criminal justice and criminology. On December 9, 2013, I was named the
“2014 Outstanding Mentor of the Year” by the Academy of Criminal Justice Sciences.
       Directly related to my teaching experience is my participation on the curriculum committee
in the Department of Law, Police Science and Criminal Justice (LPS) Administration at John Jay
College. The curriculum committee is responsible for: 1) creating proposals for a contemporary
curriculum; 2) identifying standards for the discipline; 3) aligning the curriculum with Middle States


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accreditation standards; 4) developing measurable objectives for courses; 5) identifying course-
appropriate resource materials and textbooks; and 6) identifying linkages with the college mission.
As part of the LPS curriculum committee, I participated in revising the criminal justice bachelor of
science degree (CJBS, 2013) and the police studies degree (PS, 2014). I revised the introductory
course on law enforcement, a key foundational course, and created a new course on police use of
force for the Police Studies degree.
        My administrative experience in policing has provided me with an understanding of the
manner in which police policy and practice occurs on a daily basis, from the policy level to the line
level. As a command-rank officer in a major urban police department I had a unique opportunity to
gain rare insight into police administration, operations and organizational culture, something that is
difficult to observe in most other ways and often hidden from outsiders. In addition to the
aforementioned experience, I also relied on the data presented in the documents that are listed under
exhibits in this report to formulate my opinion.
Previous Opinions
        I have either testified as an expert at trial or by deposition listed in CV (appended). I have
been compensated for my work on this matter.




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CONCLUSIONS AND OPINIONS
         Based on the available evidence, within a reasonable degree of professional certainty, I
conclude that both: 1) the decision to evacuate the East Precinct and 2) the decision to create and
perpetuate the Red-Zone policy were inconsistent with generally accepted principles in policing. My
opinions are based on my education, training, experience in law enforcement and the standards set
by the City Charter of Seattle, and are offered to rebut the opinions stated by Professor Seth
Stoughton in his April 28, 2022 report. My opinions, and the justifications for them, are as follows:
1. Did the Seattle Police Department violate generally accepted police practices for
    delivering police service and the City Seattle charter when it (1) evacuated the Seattle
    Police Department’s East Precinct on June 8, 2020, with known dangerous elements in
    the area and with no plan for reoccupying the precinct, and (2) decided they would
    provide limited police services to area around and near the precinct? Yes. The City of
    Seattle and the Seattle Police Department had a duty to provide police service to the general
    public throughout the City of Seattle, consistent with the City’s Charter and generally-accepted
    police practices. When the City of Seattle and the Seattle Police Department limited police
    service to the general public between June 8, 2020 and July 1, 2020, they were not authorized to
    do so. The City of Seattle and the Seattle Police Department’s actions were not consistent with:
    a. Seattle City Charter, Article V - Executive Department, Powers and Duties of Mayor;
    b. Seattle City Charter, Article VI - Department of Police, Section 1. - Organization of Police
         Department.
    c. Generally accepted police practices for delivering police service.
 2. Justification for opinion. My justification for opinion is set forth below.
    a. Basis for Evacuating the East Precinct and Creating the “Red Zone.”2 In the days prior to June 8,
         2020, the Seattle Police Department (“SPD”) had a number of heated interactions with anti-
         police demonstrators in the streets near the East Precinct in Seattle’s Capitol Hill
         neighborhood that resulted in injuries to some officers and the dismantling and movement
         of barriers that were erected near the East Precinct to serve as a line between officers and
         protesters.3 At times, this involved protesters pushing and shoving officers, as well as



2 I am aware of the following facts that both supplement and rebut the facts referenced and relied upon by Professor

Stoughton.
3 Stoughton report, pp. 11-12.




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         throwing projectiles such as rocks, garbage, cement, and bottles.4 The SPD’s response to
         these protests and other demonstrations in Seattle were being assisted at the time by more
         than 400 personnel from other jurisdictions.5
                   On June 8, 2020, the Seattle Mayor’s office directed the SPD not to attempt to
         fortify the East Precinct further, but instead to stand down from the barriers and allow
         protesters to freely march to and past the East Precinct,6 despite concerns among SPD
         leadership that it could jeopardize the safety of officers and the building itself.7 The clear
         preference of SPD leadership was to further fortify the building with stronger, bolted
         fencing with officers behind it, but the Mayor’s office ordered them not to do so, apparently
         out of a concern for the “optics” of defending the East Precinct.8 The Mayor’s office
         expressed that it believed protesters wanted to simply walk by the precinct, but as SPD
         Assistant Chief Thomas Mahaffey stated: “they had no information to support [that notion]
         whatsoever,” and there was no reason to assume that the previously violent protests “would
         suddenly change to peaceful.”9
                   After being directed to stand down outside the East Precinct during protest that
         were expected to occur on the evening of June 8, 2020, Assistant Chief Mahaffey made the
         decision to evacuate all materials and personnel from the East Precinct, after consulting with
         command staff, including SPD Chief Carmen Best.10 That decision was not based on what
         was happening at the time of that decision, but rather on concerns about what might happen
         later that evening and night, especially given the directive of the Mayor’s office to stand
         down from the barriers. Assistant Chief Mahaffey felt the SPD’s “hand was forced by us not
         being allowed to use the tactics that I suggested to better fortify and secure the building.”11
         As he further explained the reasoning behind the decision:
                   The overarching concern was, the need to de-escalate would have been going
                   on the previous week, which was a constant focus on the precinct by the
                   protesters, to the point that the precinct had become inoperable. We had
                   nearly nightly clashes with protesters involving significant amounts of -- we
                   had to use force to deal with the crowd. We had force used against us by the

4 Deposition of Thomas Mahaffey, 75:6-:23.
5 Stoughton report, p. 11.
6 Stoughton report, p. 12. Deposition of Thomas Mahaffey, 81:8-:14.
7 Deposition of Thomas Mahaffey, 80:25-81:6; 81:15-:21.
8 SEA_00149588.
9 SEA_00149593-0014954.
10 Deposition of Thomas Mahaffey, 73:3-:19.
11 SEA_00148592.




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                   crowd. We had officers injured. We had members of the protest crowd
                   injured, and it was seemingly not going to end. So that was the overall goal,
                   was to prevent any further clashes with the crowd and injuries to officers.
                   There was also concerns about the building being attacked and destroyed.
                   We had information from the FBI. I knew that a precinct had been burned in
                   Minneapolis, Minnesota, as a result of protests they had there. I had
                   information other government buildings were being attacked.

                   So I had a great concern that based on what had been occurring the previous
                   weeks, that the East Precinct would be another target, which, based on where
                   it sits on the block, there's really only two ways in and out of it. And overall,
                   the -- that was my greatest concern, was keeping -- keeping people safe, and
                   not being able to keep people in there, as we were not going to be able to use
                   the tactics, which was using police officers directly to manage and address
                   the crowd.

                   So that was the course of action that I felt was the best to prevent confrontation, to
                   de-escalate, prevent injury, and keep police officers and the public safe.12

                   At the time the decision was made to evacuate all personnel from the East Precinct,
         the SPD had the intent and goal of reoccupying the East Precinct in a day or two; however,
         there is nothing in discovery to indicate a planning effort or a completed plan had been
         contemplated or formulated for doing so.13 Assistant Chief Mahaffey testified that his
         parting orders on June 8, 2020, were to send the night-duty captain to the area on June 9 “to
         make an effort to go back in the following morning to kind of determine what the …
         situation was, and if it was safe and feasible [to reoccupy the East Precinct].”14 There is no
         evidence in discovery that there was any consideration of the possibility that even though
         protesters had previously dismantled and moved barriers around the East Precinct that they
         might do so again on the night of June 8, 2020, when there were no officers present.
                   On the night of June 8, 2020, protesters did not attack or attempt to burn or
         otherwise destroy the East Precinct as had been predicted by police personnel, but they did
         commandeer the barriers the SPD had left behind after their evacuation and used them, and
         other materials, to block streets and sidewalks in the vicinity of the precinct.15 These barriers



12 Deposition of Thomas Mahaffey, 73:20-75:5.
13 A plan is different from an idea.
                                   A plan is a written document specifying the technical details of how a police
operation will be executed. An idea is the underlying abstract archetype of the operation. The Seattle police may have
contemplated what they wanted to accomplish (an idea), but there is no evidence they had a plan.
14 Deposition of Thomas Mahaffey, 92:11-:15.
15 Deposition of Thomas Mahaffey, 84:14-86:11.




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         were then staffed with “guards” to monitor entry into the area that had been declared an
         “autonomous zone.”16
                   Although on June 9, 2020, the SPD concluded that “the crowd was peaceful [and]
         weren’t taking any specific action against the precinct,” the SPD concluded that they would
         not attempt to clear the streets and sidewalks of barriers or people, nor fully reoccupy the
         precinct building or the area around it on June 9, 10, or 11.17 This decision was despite the
         fact that officers were aware that individuals occupying what was then known as the Capitol
         Hill Autonomous Zone, or “CHAZ,” were armed and hostile or potentially hostile to City
         employees and individuals living and working in the area.18 This was also despite the
         knowledge of the SPD that response times throughout the areas served by the East Precinct
         had tripled since the evacuation of the precinct.19 This was also despite the opinion of some
         SPD leaders that returning to the precinct “may have been feasible [in the early days of the
         occupation], but there certainly would have been a force component.”20
                   After June 8, 2020, and before July 1, 2020, there was only one attempt to place a
         few officers at the East Precinct, which was June 11, 2020. This effort ended in the early
         morning hours of June 12, 2020, when those officers evacuated the building a second time
         out of concern for their safety.21 There is no evidence in discovery of any other attempt by
         SPD to reoccupy the building until July 1, 2020.22
                   Professor Stoughton refers to an assignment of SPD resources on June 12, 2020 to
         fully reoccupy the East Precinct, but does not cite any actual operation to do that, and there
         is no evidence in discovery to support his claim.23 Indeed, on June 11, 2020, while the SPD
         was considering attempting to move some of the occupation’s barriers away from the East
         Precinct with the assistance of the Seattle Department of Transportation (“SDOT”), it was
         under the express direction of the Mayor’s office to “fallback” at the “first sign of resistance
         or push back” because “everything you do will be live streamed.”24



16 Deposition of Thomas Mahaffey, 86:12-87:4, 90:16.
17 Deposition of Thomas Mahaffey, 92:8-:10. Also Stoughton report, p. 15.
18 Deposition of Thomas Mahaffey, 15:17-:21, 66:2-:18, 90:21-91:9, 105:7-106:9.
19 https://www.youtube.com/watch?v=_rE4VMjClqI at 14:02, (Chief Best news June 11, 2020, news conference).
20 Deposition of Thomas Mahaffey, 96:9-:24.
21 Deposition of Thomas Mahaffey, 97:19-98:11.
22 Deposition of Thomas Mahaffey, 98:12-:18.
23 See, e.g., Stoughton report, p. 15.
24 Deposition of Casey Sixkiller, 106:18-109:12.




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                  The decision not to occupy the East Precinct was made for an indeterminate period
         of time. The SPD made clear that re-occupation of the precinct was contingent upon a
         number of factors, including the SDOT’s removal of the barriers that were in the streets.25
         And as of June 16, 2020, SDOT removed some barriers in the streets and replaced them
         with larger, heavier, concrete “ecology blocks,” and the plan was that those blocks would
         remain indefinitely.26 The SPD concluded that it would not attempt to fully reoccupy the
         East Precinct for that same indefinite period of time,27 and the SPD did not participate in
         any attempt to fully reoccupy the East Precinct or clear the area until July 1, 2020.28 Indeed,
         it appears that there was no specific plan devised to clear the area until gun violence in the
         area in late June served as a “catalyst” for actually taking some sort of action.29
                  Instead of attempting to reoccupy the East Precinct shortly after evacuating it, or
         clear the surrounding neighborhood of barriers and protesters, the SPD adopted a policy of
         avoiding the East Precinct and the surrounding neighborhood. The first official
         pronouncement of this policy appears to have been on June 12, 2020, when Assistant Chief
         Thomas Mahaffey made the following announcement to the entire SPD:30




25 Deposition of Thomas Mahaffey, 179:24-180:5.
26 Deposition of Samuel Zimbabwe, 34:22-37:7, 198:8-199:13.
27 Deposition of Thomas Mahaffey, 174:8-181:5.
28 Deposition of Thomas Mahaffey, 96:9-98:18.
29 Deposition of Thomas Mahaffey, 178:3-181:5.
30 SEA-SPD_005983, Ex. 2 to Mahaffey deposition. Although this was first pronounced on June 12, 2020 it appears the

SPD was de facto following similar protocols from June 9, 202 to June 12, 2020. Deposition of Thomas Mahaffey, 53:2-
55:11.


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         This communication also included a map of several blocks of a mixed-use neighborhood
         and a multi-block public park that he designated as the “Red Zone.”
                  Sometime in the last week of June 2020, part of the wording of this policy was
         changed from “mass casualty event (e.g., active shooter incident, structural fire likely to
         endanger human lives, etc.)” to “critical life safety emergency (e.g., active shooter incident,
         structural fire likely to endanger human lives, etc.),”31 but this change in wording was not
         meant to indicate a change in the substance of the policy.32 Assistant Chief Mahaffey
         testified that the goals of the policy were to ensure officer safety and avoid inflaming anti-
         police sentiment that might exist among people who were occupying the streets, sidewalks,

31 June 29, 2020, Incident Action Plan, SEA_00007766, page SEA_0007780, Ex. 3 to Mahaffey deposition.           The
threshold of injured people to trigger a “mass casualty event” is not defined in any discovery documents. For example,
the rape of assault of a single individual is not necessarily a “mass casualty event” (Mahaffey deposition, 19:18; 20:6),
even though a rape is felony.
32 Deposition of Thomas Mahaffey, 35:23-36:5.




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        and parks in the area. He also testified that his concerns about officer safety were based on
        past interactions between protesters and police between May 29, 2020, and June 7, 2020.33
                 None of the following crimes constituted crimes that the SPD would physically
        respond to in the Red Zone while this policy was in place: 1) rape; 2) assault that did not
        “endanger a significant number of people;” 3) kidnapping; 4) discharge of a firearm not
        resulting in injuries; 5) property destruction that did not put “many people’s lives in danger;”
        6) fires that did not endanger “a significant number of lives;” and 7) a large disagreement
        involving individuals carrying rifles but not firing them.34 If anyone was a victim of such a
        crime and wanted to report it or any other public disturbance inside the Red Zone, officers
        would not report to the scene of the incident. Citizens had to make their report on the
        phone, online, or walk several blocks to try to meet an officer in person.35
                 Even for “mass casualty events” or “critical life safety emergencies” inside the Red
        Zone, the SPD still maintained a modified position that did not involve a direct response. As
        the policy itself states, officers would first stage somewhere outside the Red Zone and
        consult with a supervisor about decide whether to respond to the event.36 It was also
        consistent with the policy not to respond in-person to events that were outside the Red
        Zone if officers determined consistent with the Red-Zone policy there should be no such
        response at the outside location.37 It was apparently due to this policy that on the night of
        June 14, 2020, that the SPD did not respond to an incident outside but near the Red Zone in
        which a business owner responded to a break-in and fire at his business and detained the
        offender while repeatedly calling 9-1-1, until a crowd of hundreds of people forcibly entered
        the business’ parking lot and threatened the life of the owner until he released the offender.38
        It was also the case under the Red-Zone policy that for the entirety of the Edward Sector, an
        area that includes all of the Capitol Hill neighborhood in which the Red Zone was located,
        that even calls that routinely would be responded to by a single officer required a minimum
        of four-officers.39



33 Deposition of Thomas Mahaffey, 24:11-25:11.
34 Deposition of Thomas Mahaffey, 18:25-22:20, 27:3-30:12.
35 Deposition of Thomas Mahaffey, 115:24-117:17.
36 Deposition of Thomas Mahaffey, 22:22-24-:1.
37 Deposition of Thomas Mahaffey, 45:2-47:12.
38 SEA_00156958; Deposition of Thomas Mahaffey, 43:20-49:7.
39 Deposition of Thomas Mahaffey, 12:10-:15, 36:22-38:11.




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                   The Red-Zone policy remained in effect until the early morning hours of July 1,
         2020, despite the City and the SPD having full intelligence of what was happening in the
         neighborhood during June 2020. I was informed by counsel that the City had the following
         individuals in the Red Zone nearly every day from June 9, 2020 to June 30, 2020: the chief of
         the Seattle Fire Department, the head of the Seattle Department of Transportation, the head
         of Seattle Public Utilities, a representative from the Seattle Parks and Recreation
         Department, and a representative from the Mayor’s office. There is no evidence in discovery
         the SPD had personnel positioned inside the Red Zone, nor was SPD involved in any
         attempts to negotiate with the occupying protesters. However, as Professor Stoughton has
         made clear, the SPD had plainclothes detectives on site, was aware of and monitoring the
         presence of gangs, violence against City employees in the area, and a sharp increase in
         violent crimes, including homicides.40 It was also known from the very start of the
         occupation on June 9, 2020 that weapons were being brought to the area, that there were
         barriers in the streets intended to block entry of vehicles, and that these barriers were staffed
         by armed individuals who declared the area to be autonomous.41 It was also known that as
         time went on there was a large number of people who had started living in Cal Anderson
         Park and the sidewalks around the East Precinct.42 Some of the problems and crimes that
         had occurred in the area during the time that the SPD maintained its Red-Zone policy are
         also documented in the Mayor’s June 30, 2020, Executive Order.43
    b. Propriety of the City of Seattle and the Seattle Police Department’s Actions. The powers and duties of
         the Seattle Mayor are governed by the City’s Charter (Article V - Executive Department,
         Powers and Duties of Mayor). The Mayor’s power to usurp the Seattle Police Department’s
         authority to deliver police service is limited to instances when an emergency has been
         declared and when the Mayor has first issued a proclamation.44 Neither of these two

40 Staughton report, pp. 18, 20-21.
41 Deposition of Thomas Mahaffey, 15:6-:21; 64:24-67:3, 84:14-87:3, 90:11-91:22.
42 Deposition of Thomas Mahaffey, 129:13-131:1.
43 SEA_00045264, Ex. 12 to Deposition of Thomas Mahaffey.
44 “He or she may, in any emergency, of which the Mayor shall be the judge, assume command of the whole or any

part of the police force of the City; but before assuming such control he or she shall iss ue his or her proclamation to
that effect, and it shall be the duty of the Chief of Police to execute orders promulgated by the Mayor during such
emergency” (Article V - Executive Department, Powers and Duties of Mayor). By way of contrast, during the 1999
World Trade Organization riot: “In response to this situation and based on the recommendations of police
commanders, the Mayor declared a Civil Emergency at 1532 hours. The Proclamation of Civil Emergency included an
Emergency Order imposing a curfew with criminal sanctions and allowing for arrests of curfew violators. The curfew
included the area bounded by Denny Way on the north, Yesler Way on the south, the I-5 freeway on the east, and Elliott
Bay on the west, and was in effect between 1900 hours Tuesday and 0730 hours Wednesday. Shortly after the Mayor’s


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          conditions of the City’s Charter were satisfied when the Mayor ordered the Seattle police
          department not to fortify the East Precinct, to “stand down”45 amid officers’ concerns for
          safety46 and to “fallback.”47 Therefore, the Mayor knew or should have known that she
          issued an illegal order to the Seattle Police Department, one that was not consistent with the
          City’s Charter and that interfered with police operations. When the Mayor acted outside the
          scope of her authority, she improperly directed and controlled the Seattle Police
          Department, she was not authorized to do so and her decision led directly to the improper
          denial of the benefit of the SPD in around the East Precinct and CHOP.48
                     The City of Seattle and the Seattle Police Department had a duty to maintain
          adequate police protection in each district of the city, consistent with the City’s Charter.49
          When Assistant Chief Mahaffey decided to evacuate the East Precinct, he left a portion of
          this district of the city without adequate police protection and modified the Seattle Police
          Department’s response, which violated the City’s Charter. Even prior to evacuating the East
          Precinct, Assistant Chief Mahaffey knew there were armed protestors in the area and he



action, the Governor authorized deployment of the National Guard” (The Seattle Police Department After Action
Report World Trade Organization Ministerial Conference Seattle, Washington November 29 – December 3, 1999,
issued April 4, 2000, p. 41). A similar proclamation was not issued in the instant case.
45 Stoughton report, p. 12. Deposition of Thomas Mahaffey, 81:8-:14.
46 Deposition of Thomas Mahaffey, 80:25-81:6; 81:15-:21.
47 Deposition of Casey Sixkiller, 106:18-109:12.
48 As a matter of public duty, it is generally accepted that a municipality performs a governmental function when it

provides police protection to the general public. Public duty is based on the premise that a governmental entity, such as
the City of Seattle, owes a duty to the general public for the performance of certain government functions, police
protection being one. Under this doctrine, the municipality’s duty is to provide police protection to people, which is
considered to be a duty owed to the general public. The purpose of the Seattle Municipal Code (SMC) is to exercise
“…the police power of Seattle to protect and preserve the public peace, health, safety, and welfare. Its provisions shall be
liberally construed for the accomplishment of these purposes” (emphasis mine) (SMC, Title 10, section 10.01.10).
Furthermore, the SMC notes “It is expressly the purpose of Title 10 to provide for and promote the health, safety and welfare
of the general public, and not to create or otherwise establish or designate any particular class or group of persons who will or should be
especially protected or benefited by the terms of Title 10” (emphasis mine) (SMC Title 10, section 10.01.01.B). When the
Mayor denied the Seattle Police Department the opportunity to fortify the East Precinct and ordered the officers to
“stand own” and “fallback,” she denied the general public the benefit of the Seattle Police Department. She also
enabled a particular group of people (i.e., the CHOP participants) to benefit from the absence of police by enabling
criminal activity, avoiding arrest and potentially criminal conviction and punishment for the crimes they perpetrated
inside and around the CHOP. The Seattle Office of Police Accountability confirmed in its report of the instant case:
“It is undisputed that the CHOP/CHAZ area did not, for a period of time, receive regular police services. This
undoubtedly resulted in detrimental effects to residents of the immediate area and businesses in the vicinity” (OPA
CASE NUMBER: 2020OPA-0354, September 30, 2021, p. 22 of 26). The OPA and the Mayor knew or should have
known that issuing an order for the officers to “stand down” and “fallback” violated the City’s Charter. These
decisions reflect OPA’s and the Mayor’s lack of knowledge, skills and abilities regarding the duty to provide police
protection for the general public.
49 “There shall be maintained adequate police protection in each district of the City” (Article VI, Section 1 –

Organization of the Police Department).


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         failed to act in the public’s best interest by sending officers to investigate.50 Therefore,
         Assistant Chief Mahaffey knew or should have known that his decision was not lawful and
         was neither consistent with the City’s Charter nor an accepted police practice. When the
         Mayor issued an unlawful order, neither Chief Best nor Assistant Chief Mahaffey were
         obligated to comply.
                  It is correct in a general sense that in any particular tactical situation that an
         individual officer can and must make decisions about what is appropriate for that officer’s
         safety, as well as the appropriate level of force (if any) to apply to resolve an actual or
         potential conflict. It is also correct that there may be a range of appropriate responses to any
         particular threat. However, every decision must be analyzed based on the full circumstances
         presented to that officer at the time they make their decision. Further, a decision to
         withdraw from a particular conflict to preserve officer safety must be based on an imminent
         threat51 of officer harm, and is only reasonable if it the totality of the circumstances indicate
         such a threat. There is no evidence in discovery to indicate that the totality of the
         circumstances in the instant case ripened into an imminent threat to the Seattle police
         officers stationed at the East Precinct when Assistant Chief Mahaffey decided to evacuate
         the facility on June 8, 2020. Assistant Chief Mahaffey’s decision was not consistent with the
         City’s Charter and was not consistent with generally accepted principles of policing. The
         totality of the circumstances that were derived from discovery indicate:
         1. At the time of the decision to evacuate personnel, there was no officer under direct
              threat of harm, and there were no protesters threatening officers or the building;
         2. SPD leadership’s preferred approach was to fortify the building further before another
              nightly protest, but chose not to, apparently following the unlawful orders from the

50 Deposition of Thomas Mahaffey, 15:6-21. Chief Mahaffey testified at deposition that Washington is an open-carry

state and that carrying a weapon is not necessarily illegal (Mahaffey deposition, 29:14-23). However, as a matter of public
safety, given the CHOP and its disorderly nature, Chief Mahaffey should have initiated and ensured Seattle police
officers were sent to investigate the circumstances surrounding those people he observed carrying weapons consistent
with field interview procedures. Any field interview should have been documented and archived as a matter of crime
analysis and criminal intelligence and retained for future use. If probable cause for an arrest developed, then an arrest
should have been effected. This did not occur.
51An imminent threat or imminent danger is threatened action or outcome that is immediately likely to occur during an

encounter absent action by the officer. The period of time involved is dependent on the circumstances and facts evident
in each situation and is not the same in all situations. Assistant Chief Mahaffey testified at deposition that the
“overarching concern” was the “need to de-escalate” (Mahaffey deposition, 73:20-24). Assistant Chief Mahaffey never
mentioned an imminent threat to any officers or the East Precinct facility. The words “imminent threat,” “imminent
danger” or their equivalent do not appear in Chief Mahaffey’s deposition, which indicates there was no imminent threat
to the East Precinct or its personnel. Assistant Chief Mahaffey also testified at deposition that the East Precinct did not
sustain any damage and nothing had been taken (Mahaffey deposition, 97:6-8).


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              Mayor rather than exercising their independent judgment consistent with the City’s
              Charter;52
         3. The SPD had more than 400 additional officers from outside agencies available but
              chose not to use them to retain control and occupancy of the East Precinct;53
         4. The decision to evacuate all personnel from the East Precinct was the result of an order
              from the Mayor’s Office those officers “stand down” from the previously erected
              barriers and allow protesters to freely march past the precinct, which the SPD believed
              placed officers and the building at risk;54
         5. The SPD knew from prior interactions with protesters in the same location in early June
              2020 that protesters could and would dismantle and repurpose barriers that police had
              used to separate themselves and the precinct from protesters;
         6. While the SPD evacuated the precinct, it left behind in the streets and sidewalks around
              the precinct various barriers that could and eventually were used to fortify the CHOP;
         7. The SPD evacuated the precinct despite having received intelligence suggesting that it
              could be set on fire that night;
         8. The evacuation occurred with no tactical plan for reoccupying or attempting to reoccupy
              the building beyond planning to send an officer back to the area to reassess the situation
              the next morning;55

52 Via Seattle City Charter, the Seattle Mayor delegates the power and authority for law enforcement in Seattle to the

Seattle Chief of Police (“The Chief of Police shall manage the Police Department, and shall prescribe rules and
regulations, consistent with law, for its government and control; provided, that the C hief of Police shall be
responsible to the Mayor for the administration of the Police Department and the enforcement of law” Article VI,
Section 4, Chief to Manage Police Department), except after the Mayor declares an emergency and after the Mayor
first issues a proclamation. I have been instructed by plaintiff’s counsel to assume that neither of these Charter
provisions occurred.
53 The Seattle Police Department could have mobilized these officers to fortify the East Precinct. The decision not to

do so reflects a lack of knowledge, skills and abilities in executing police operations.
54 The Mayor’s order was unlawful and violated the City’s Charter (“He or she may, in any emergency, of which the

Mayor shall be the judge, assume command of the whole or any part of the police force of the City; but before
assuming such control he or she shall issue his or her proclamation to that effect, and it shall be the duty of the Chief
of Police to execute orders promulgated by the Mayor during such emergency” (Article V - Executive Department,
Powers and Duties of Mayor). The Seattle Police Department, through Chief Best and/or Assistant Chief Mahaffey,
knew or should have known that the Mayor issued an illegal order and that they were not obligated to comply with an
illegal order. By following the Mayor’s unlawful order, the Seattle Police Department was complicit in denying the
general public the benefit of adequate police protection afforded by the City’s Charter.
55 There is no evidence in discovery that the SPD prepared a plan to reoccupy the East Precinct, or how they would

address any perceived or real vulnerabilities that existed before or after they evacuated the precinct. The City of Seattle
and Seattle Police Department should have been aware how to develop a plan that accounts for vulnerabilities and
worst-case scenarios since planning is a common and accepted command staff function and was a specific
recommendation following the World Trade Organization riot in 1999 (The Seattle Police Department After Action
Report World Trade Organization Ministerial Conference Seattle, Washington November 29 – December 3, 1999,
issued April 4, 2000: “This after action report recommends that the City undertake a careful assessment of the effects of


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         Restated, the totality of the circumstances demonstrate that there was an insufficient basis
         for evacuating the East Precinct and doing so was not in keeping with generally accepted
         policing practices since an imminent threat to officer safety had not materialized. Doing so
         was against the better judgment of the commanding officer who ordered the evacuation
         instead of implementing his preferred plan of fortifying the building and remaining in place.
         Any suggestion by Chief Best or Assistant Chief Mahaffey that they were just following
         orders (from the Mayor) does not absolve them from the duty imposed by the City’s Charter
         to provide adequate police protection in each district. Assistant Chief Mahaffey issued the
         order to evacuate the precinct and he was in the position of making the judgment as to
         whether such a response was justified based on the totality of the circumstances. It was not.
                  Professor Stoughton’s analysis falters primarily because he relies on principles that
         apply primarily to policing decisions made in the heat of battle about whether to engage with
         an offender, and if so, how best to engage with that offender. Those principles cannot be
         extended to justify a policy decision to evacuate an entire precinct out of concern that there
         might be a confrontation in the coming hours and leaving the general public without
         adequate police protection, which is required by the City’s Charter.56 The instant case is not,
         as Professor Stoughton suggests, so unusual that the extraordinary decision to evacuate a
         precinct building can be considered a reasonable or acceptable decision. In particular, he is
         incorrect that “[t]his case presents an unprecedented tactical situation” of anti-police protests
         having occurred in the area in and around a police precinct over the course of several days.
         Anti-police protests are hardly unique or unprecedented, in Seattle or elsewhere, including
         protests focused on a specific building or location.57

its Investigations Ordinance and that SPD commanders include a credible worst case scenario in planning for future
events,” p. 5).
56 “There shall be maintained adequate police protection in each district of the City” (Article VI, Section 1 –

Organization of the Police Department).
57 Professor Stoughton characterizes the event as “unprecedented.” This is inaccurate. The Seattle Office of Police

Accountability used the word “unprecedented” four times in their report to characterize the event in the instant case
(OPA CASE NUMBER: 2020OPA-0354, September 30, 2021, see pp. 2, 20, 22, 26). This too is inaccurate. Assistant
Chief Mahaffey testified at deposition that he had never experienced anything similar to the instant case (Mahaffey
deposition, 111:24-25). This is also inaccurate. The World Trade Organization riot in 1999 was an event of similar
dimension that was subjected to an after action report that recommended the Seattle police prepare for similar riots in
the future. The City of Seattle and the Seattle Police Department knew or should have known how to address the event
in the instant case and it was not unprecedented (see The Seattle Police Department After Action Report World Trade
Organization Ministerial Conference Seattle, Washington November 29 – December 3, 1999, issued April 4, 2000, p.
41). By way of similar example, in July 1967, the Newark Police Department’s Fourth Precinct Station began receiving
rocks and bottles that injured several police officers and also received gun fire through the front-facing windows of 17th


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                  Professor Stoughton has not pointed to any other incidents, and I am not aware of
         one, in which a police department evacuated a precinct building in anticipation of possible
         crimes that might be committed, much less with no tactical plan for reoccupying that
         precinct to ensure adequate police protection. This on its own indicates that the decision was
         contrary to generally accepted principles of policing.
                  Professor Stoughton also suggests that the decision to evacuate the East Precinct and
         the surrounding neighborhood was at least in part justified, or perhaps required, to avoid
         deterring the First Amendment rights of the protesters (see p. 30 of his report). I am not
         aware of any generally accepted police practice or any requirement in First Amendment law,
         that would justify evacuating a police facility or ceding an entire neighborhood to known or
         potential armed criminals to preserve First Amendment rights. The First-Amendment
         protects the right of the people to peaceably assemble; it does not permit armed protestors
         to coerce, intimidate, create tumultuous conditions, or interfere with a police department’s
         duty to provide police service, nor does it provide a police department with an excuse to
         abrogate its duty to provide police protection to the general public, which is what occurred
         in the instant case.
                  In addition to allowing the protestors to create CHOP, the Seattle Police
         Department’s policy of not responding to all but the most serious crimes in and around the
         CHOP, for an indeterminate amount of time, was not consistent with generally accepted
         principles in policing. Professor Stoughton is incorrect that the SPD’s adoption of the Red-
         Zone policy, in lieu of attempting to reoccupy the precinct and clear the surrounding area,
         was consistent with generally accepted policing principles. It is not consistent with any
         accepted policing principle to indefinitely declare that a city neighborhood will not receive
         any in-person responses to anything other than crimes that endanger multiple lives, with no


Avenue during the riot that unfolded. The Police Department maintained its position and countered the 300 protesters
that gathered outside. The Newark Police Department never evacuated any police facility during the riot. During the
1992 Los Angeles riots, following the Rodney King trial, the LAPD never evacuated any police facility, including Police
Headquarters where protestors gathered and tried to push past police officers and enter the building. On June 16, 2005,
an offender about to be placed under arrest opened fire inside the West Police District Station in Jersey City, New
Jersey, wounding a sergeant and an officer before he was stopped by gunfire from other officers inside the station. The
officers never evacuated the precinct. On January 24, 2011, an offender entered the 6th precinct in Detroit and opened
fire with a shotgun wounding four officers. The officers never evacuated the precinct. On February 9, 2020, an offender
entered the 41st precinct in New York City and shot an officer before being taken into custody. The officers never
evacuated the precinct. Evacuating a police precinct and ceding the area to protestors or rioters is not an accepted
industry practice. The police officers in the aforementioned examples faced conditions worse than the SPD in the
instant case, yet they stood their ground and repelled an imminent threat, which was not the case for SPD.


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         tactical plan for addressing the situation, all based on a concern that the criminals in question
         do not like the police. The following contextual facts support my position:
         1. The SPD made no attempt between June 8 and July 1, 2020, to fully reoccupy the East
              Precinct or clear the streets of all barriers and people, or otherwise abate the conditions
              that it used to justify the adoption of the Red-Zone policy, despite its duty via City
              Charter to provide adequate police protection. This included June 9, 2020, when the
              SPD had originally hoped to reoccupy the East Precinct, and when the area had only a
              relatively few occupants who appeared to be peaceful and not attacking the precinct
              building. At that stage, the SPD still had more than 400 additional officers and National
              Guard troops available to assist in any operation;
         2. Although the SPD had a desire and a general idea to eventually clear the area and
              reoccupy the East Precinct, there was no tactical operation to actually take any steps
              toward those goals until there was a “catalyst” of escalated violence in the area in late
              June 2020. Even when the City finally began to formulate a plan on June 22, 2020 to
              finally clear the area,58 the SPD refused to participate in any operations.59 This was
              certain to fail, as Professor Stoughton acknowledges it did;60
         3. The justification for the Red-Zone policy from June 12, 2020 to June 30, 2020, was
              based not on contemporary or ongoing conflicts with individuals in or near the Red
              Zone. Instead the policy was based instead on what had happened near the East Precinct
              on June 7, 2020, and in earlier interactions with protesters, and a generalized concern
              that the Red Zone was populated at least in part by individuals who held anti-police
              viewpoints;
         4. The actions of the SPD and the Mayor suggest that the tactics adopted by the SPD
              adopted were intended to avoid confronting the numerous crimes and blockages of
              rights-of-way that they were aware of; instead of enforcing the law, their position was to
              “stand down” and “fallback” at the “first sign of resistance or push back;”61
         5. The “catalyst” for the SPD’s decision to assist in clearing the area and the reoccupation
              of the East Precinct was a massive spike in violent crime. This significantly undercut the
              suggestion of the City and Professor Stoughton that the Red Zone was necessary to

58 Staughton report, p. 20
59 SEA_00028053 (Chief Best email, June 22, 2020).
60 Staughton report, p. 20.
61 Deposition of Casey Sixkiller, 106:18-109:12.




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              “deescalate” the Red Zone. In fact, violence in the Red Zone only escalated further as
              time went on,62 and it was at the zenith of that violence that the Red-Zone policy finally
              ended, in an operation that was met with little meaningful resistance;
         6. The area declared to be the Red Zone encompassed a large area of several blocks of
              what I am told was a vibrant multi-use urban neighborhood with numerous residential
              buildings, small businesses, and a large public park with playfields and a playground.
              This area was denied adequate police protection as defined by the City’s Charter;
         7. It was foreseeable that declaring the area off-limits to direct response from police that
              property crime and violent crime would spike in the area. Professor Stoughton quotes
              from the SPD’s own gang intelligence that “CHOP [became] a center of lawlessness for
              our gang members [who] all want to go and check it out. They want[ed] to see what
              [was] like to be an area without any police.”63 This, and other public-safety problems
              created by the Red-Zone policy, were and should have been easily predicted;64
         8. The SPD and the City were aware of the increased crime in the area, and the increased
              time it was taking to respond to crime in the area, as it was happening;
         9. The conditions that gave rise to the Red-Zone policy were largely a direct result of the
              SPD’s decision to evacuate the East Precinct and leave movable barriers behind.


                 The fundamental reality of policing worldwide is that police officers have a duty to
        confront individuals who dislike them, some of whom may be armed and prepared to injure
        or kill them. Police officers worldwide voluntarily assume this risk when they accept the job
        and they are duty-bound to confront dangerous circumstances on the public’s behalf to
        ensure peace and safety in a community. It is not uncommon or unprecedented, as discussed


62 See Staughton report, pp. 20-21 (listing and discussing violent incidents all of which occurred during the last week of

June 2020).
63 Staughton report, p. 20.
64 Refer to the work of Dr. Eric L. Piza, as set forth in his separate report in this case. Also, refer to the 1992 Los

Angeles riots following the Rodney King verdict. Protestors gathered at Florence and Normandie in Los Angeles. Los
Angeles Police Lieutenant Michael Moulin of the 77th Street Division, the person in charge at Florence and Normandie,
said that he ordered 25 officers to withdraw from that location because “I didn’t want them killed.” Los Angeles police
withdrew and never regrouped to take control of this vital and violent intersection, an action that Police Chief Daryl F.
Gates conceded was a serious mistake. When the police officers withdrew and failed to develop a plan to regroup and
return to the area, the damage quickly escalated and spread and became one of the deadliest and costliest riots in U.S.
history (see Lou Cannon, May 10, 1992, “When the Thin Blue Line Retreated, L.A. Riot Went Out of Control,”
Washington Post, retrieved on May 20, 2020 from
https://www.washingtonpost.com/archive/politics/1992/05/10/when-thin-blue-line-retreated-la-riot-went-out-of-
control/2ccf3e5c-c03b-4d82-bce1-0ea43be30cd3/).


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        above, for police to confront large groups of such individuals, some of whom may be armed.
        There is no generally accepted police practice to simply avoid any and all contact with such
        individuals in a neighborhood for an indefinite period of time, with no plan to engage with
        those individuals for several days, much less several weeks as they violate the law.
                  If Professor Stoughton was correct that the presence of weapons, violent crime, and
        anti-police sentiment in a specific area of a city could justify police refusing to respond in
        person to reports of small fires, rapes, kidnappings, assaults, firearm discharges, and property
        crimes, then it would be justified and reasonable for police to de facto evacuate precisely the
        areas and neighborhoods most in need of public safety. There are many such areas of U.S.
        cities—Newark, Chicago, Detroit, Los Angles, New York, Miami, Washington, D.C. to name
        a few—and Seattle is not unique in this regard. No legitimate and accepted police principle
        justifies such a decision.65
                  Restated, Professor Stoughton has not pointed to another case, and I am not aware of
        one, where a police department made a policy decision to evacuate its primary service delivery
        center (i.e., East Police Precinct), not to respond in person, for an indefinite time, to any
        crimes in a neighborhood other those that have already endangered lives, and to delay its
        response for even those crimes. This again, on its own, indicates that the decision was
        contrary to generally accepted principles of policing.66■




65 Professor Stoughton suggests that evacuating the East Precinct was a necessary preemptive move.       Based on the
totality of the circumstances, police officers facing hostile people are expected to stand their ground, not to retreat, and
press forward to achieve a lawful objective. There is no evidence in discovery to indicate the East Precinct officers were
facing an imminent threat to justify evacuating the precinct.
66 I am aware Professor Staughton offered an opinion on a third topic, which is whether SPD erecting a barrier of

concrete blocks around the East Precinct on July 1, 2020 was consistent with generally accepted policing practices. I
offer no opinion regarding the creation of that barrier.


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ACKNOWLEDGEMENT

       This report provides my opinion on police policy and practice based on the available
information at this time. I presume the information provided to me is accurate and correct. If
additional information becomes available at a later time, then I may submit a supplemental report.
Depending on the new information, my opinion in this report may or may not change. My opinion
is based upon a reasonable degree of professional certainty. My comments on the appropriateness
and standards of care are professional opinions based upon on the facts of this specific case and
should not be generalized to the wider policing community. The opinion I expressed does not
constitute a recommendation for policy changes or other administrative action.




                                               Dr. Jon M. Shane




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